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13                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14

15    JOSHUA MATTHEWS,                               Case No. 2:20-cv-07841-PA-JPR
      individually and on behalf of all others
16    similarly situated,                            AMENDED CLASS ACTION
                                                     COMPLAINT
17                Plaintiff,
                                                     AMENDED COMPLAINT FOR
18    vs.                                            VIOLATIONS OF THE
                                                     TELEPHONE CONSUMER
19    MID CITY CANNABIS CLUB, INC.                   PROTECTION ACT,
      d/b/a LA BREA COLLECTIVE,                      47 U.S.C. §§ 227, ET SEQ.
20    a California corporation,                      (“TCPA”)

21                Defendant.
                                                     JURY TRIAL DEMANDED
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                               AMENDED CLASS ACTION COMPLAINT
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 1                         AMENDED CLASS ACTION COMPLAINT
 2           1.       Plaintiff, Joshua Matthews (“Plaintiff”), brings this action against
 3    Defendant, Mid City Cannabis Club, Inc. d/b/a La Brea Collective (“Defendant”), to
 4    secure redress for violations of the Telephone Consumer Protection Act (“TCPA”), 47
 5    U.S.C. § 227.
 6                                  NATURE OF THE ACTION
 7           2.       This is a putative class action pursuant to the Telephone Consumer
 8    Protection Act, 47 U.S.C. §§ 227, et seq. (the “TCPA”).
 9           3.       Defendant is a cannabis dispensary. To promote its services, Defendant
10    engages in aggressive unsolicited marketing, harming thousands of consumers in the
11    process.
12           4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s
13    illegal conduct, which has resulted in the invasion of privacy, harassment, aggravation,
14    and disruption of the daily life of thousands of individuals. Plaintiff also seeks statutory
15    damages on behalf of himself and members of the Class, and any other available legal
16    or equitable remedies.
17                                JURISDICTION AND VENUE
18           5.       This Court has federal question subject matter jurisdiction over this action
19    pursuant to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
20    Protection Act, 47 U.S.C. §§ 227, et seq. (“TCPA”).
21           6.       The Court has personal jurisdiction over Defendant and venue is proper
22    in this District because Defendant directs, markets, and provides its business activities
23    to this District, and because Defendant’s unauthorized marketing scheme was directed
24    by Defendant to consumers in this District, including Plaintiff.
25                                              PARTIES
26           7.       Plaintiff is a natural person who, at all times relevant to this action, was a
27    resident of Los Angeles County, California.
28                                           2
                              AMENDED CLASS ACTION COMPLAINT
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 1           8.     Defendant is a California corporation whose principal office is located at
 2    5057 W Pico Blvd, Los Angeles, California 90019. Defendant directs, markets, and
 3    provides its business activities throughout the United States, including throughout the
 4    state of California.
 5           9.     Unless otherwise indicated, the use of Defendant’s name in this
 6    Complaint includes all agents, employees, officers, members, directors, heirs,
 7    successors, assigns, principals, trustees, sureties, subrogees, representatives, vendors,
 8    and insurers of Defendant.
 9                                         THE TCPA
10           10.    The TCPA prohibits: (1) any person from calling a cellular telephone
11    number; (2) using an automatic telephone dialing system; (3) without the recipient’s
12    prior express consent. 47 U.S.C. § 227(b)(1)(A).
13           11.    The TCPA defines an “automatic telephone dialing system” (“ATDS”) as
14    “equipment that has the capacity - (A) to store or produce telephone numbers to be
15    called, using a random or sequential number generator; and (B) to dial such numbers.”
16    47 U.S.C. § 227(a)(1).
17           12.    In an action under the TCPA, a plaintiff must only show that the
18    defendant “called a number assigned to a cellular telephone service using an automatic
19    dialing system or prerecorded voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d
20    1316, 1319 (S.D. Fla. 2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).
21           13.    The Federal Communications Commission (“FCC”) is empowered to
22    issue rules and regulations implementing the TCPA. According to the FCC’s findings,
23    calls in violation of the TCPA are prohibited because, as Congress found, automated
24    or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
25    solicitation calls, and such calls can be costly and inconvenient. The FCC also
26    recognized that wireless customers are charged for incoming calls whether they pay in
27    advance or after the minutes are used. Rules and Regulations Implementing the Telephone
28                                            3
                               AMENDED CLASS ACTION COMPLAINT
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 1    Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd
 2    14014 (2003).
 3           14.    In 2012, the FCC issued an order tightening the restrictions for automated
 4    telemarketing calls, requiring “prior express written consent” for such calls to wireless
 5    numbers. See In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
 6    1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012) (emphasis supplied).
 7           15.    To obtain express written consent for telemarketing calls, a defendant
 8    must establish that it secured the plaintiff’s signature in a form that gives the plaintiff a
 9    “‘clear and conspicuous disclosure’ of the consequences of providing the requested
10    consent….and having received this information, agrees unambiguously to receive such
11    calls at a telephone number the [plaintiff] designates.” In re Rules & Regulations
12    Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1837 ¶ 18, 1838 ¶ 20,
13    1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).
14           16.    The TCPA regulations promulgated by the FCC define “telemarketing”
15    as “the initiation of a telephone call or message for the purpose of encouraging the
16    purchase or rental of, or investment in, property, goods, or services.” 47 C.F.R. §
17    64.1200(f)(12). In determining whether a communication constitutes telemarketing, a
18    court must evaluate the ultimate purpose of the communication. See Golan v. Veritas
19    Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).
20           17.    “Neither the TCPA nor its implementing regulations ‘require an explicit
21    mention of a good, product, or service’ where the implication of an improper purpose
22    is ‘clear from the context.’” Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918
23    (9th Cir. 2012)).
24           18.    “‘Telemarketing’ occurs when the context of a call indicates that it was
25    initiated and transmitted to a person for the purpose of promoting property, goods, or
26    services.” Golan, 788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. §
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28                                          4
                             AMENDED CLASS ACTION COMPLAINT
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 1    64.1200(f)(12); In re Rules and Regulations Implementing the Telephone Consumer Protection Act
 2    of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003 WL 21517853, at *49).
 3           19.    The FCC has explained that calls motivated in part by the intent to sell
 4    property, goods, or services are considered telemarketing under the TCPA. See In re
 5    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.
 6    14014, ¶¶ 139-142 (2003). This is true whether call recipients are encouraged to
 7    purchase, rent, or invest in property, goods, or services during the call or in the future. Id.
 8           20.    In other words, offers “that are part of an overall marketing campaign to
 9    sell property, goods, or services constitute” telemarketing under the TCPA. See In re
10    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.
11    14014, ¶ 136 (2003).
12           21.    If a call is not deemed telemarketing, a defendant must nevertheless
13    demonstrate that it obtained the plaintiff’s prior express consent. See In the Matter of
14    Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961,
15    7991-92 (2015) (requiring express consent “for non-telemarketing and non-advertising
16    calls”).
17           22.    Further, the FCC has issued rulings and clarified that consumers are
18    entitled to the same consent-based protections for text messages as they are for calls to
19    wireless numbers. See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009)
20    (The FCC has determined that a text message falls within the meaning of “to make any
21    call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc., 2014 WL 6757978, at *3
22    (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it obtained
23    Plaintiff's prior express consent before sending him the text message ) (emphasis
24    added).
25           23.    As recently held by the United States Court of Appeals for the Ninth
26    Circuit: “Unsolicited telemarketing phone calls or text messages, by their nature, invade
27    the privacy and disturb the solitude of their recipients. A plaintiff alleging a violation
28                                          5
                             AMENDED CLASS ACTION COMPLAINT
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 1    under the TCPA ‘need not allege any additional harm beyond the one Congress has
 2    identified.’” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017 U.S. App. LEXIS
 3    1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549
 4    (2016) (emphasis original)).
 5                                   FACTUAL ALLEGATIONS
 6          24.    During December of 2019, Defendant sent the following telemarketing
 7    text messages to Plaintiff’s cellular telephone number ending in 2272 (the “2272
 8    Number”):
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                            AMENDED CLASS ACTION COMPLAINT
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 1           25.    Defendant’s text messages were transmitted to Plaintiff’s cellular
 2    telephone, and within the time frame relevant to this action.
 3           26.    Defendant’s text messages constitute telemarketing because they
 4    encouraged the future purchase or investment in property, goods, or services, i.e.,
 5    selling Plaintiff cannabis products.
 6           27.    The information contained in the text message advertises Defendant’s
 7    various discounts and promotions, which Defendant sends to promote its business.
 8           28.    Plaintiff received the subject texts within this judicial district and,
 9    therefore, Defendant’s violation of the TCPA occurred within this district. Upon
10    information and belief, Defendant caused other text messages to be sent to individuals
11    residing within this judicial district.
12           29.    Plaintiff is the subscriber and sole user of the 2272 Number and is
13    financially responsible for phone service to the 2272 Number.
14           30.    At no point in time did Plaintiff provide Defendant with his express
15    written consent to be contacted using an ATDS.
16           31.    More specifically, in or around December 2019, when Plaintiff visited
17    Defendant’s store, he verbally provided his 2272 Number to Defendant--but did not
18    provide any form of express consent, written or otherwise, to be contacted at that
19    number via an ATDS. Plaintiff’s 2272 number, upon information and belief, was then
20    added to Defendant’s customer relationship management system. Defendant then
21    downloaded a list of its customers’ contact information from the system, uploaded that
22    list of numbers to an ATDS or text-messaging platform having the capabilities of an
23    ATDS, and then transmitted vast quantities of pre-scripted text messages to the cellular
24    telephones of customers identified on that uploaded list, including Plaintiff. All
25    customers received the same or similar autodialed text messages as did Plaintiff, and
26    all customers were sent text messages in the same manner. As alleged, Defendant’s
27    text-messaging platform sends text messages “to a stored list of phone numbers,” and
28                                           7
                              AMENDED CLASS ACTION COMPLAINT
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 1    therefore, qualifies as an ATDS under Ninth Circuit precedent. See Marks v. Crunch San
 2    Diego, LLC, 904 F.3d 1041, 1053 (9th Cir. 2018)(“Because we read § 227(a)(1) to
 3    provide that the term ‘automatic telephone dialing system’ means equipment which
 4    has the capacity—(1) to store numbers to be called or (2) to produce numbers to be
 5    called, using a random or sequential number generator—and to dial such numbers
 6    automatically (even if the system must be turned on or triggered by a person), we
 7    conclude there is a genuine issue of material fact as to whether the Textmunication
 8    system is an ATDS. The evidence in the record shows that the Textmunication system
 9    stores numbers and dials them automatically to send text messages to a stored list of
10    phone numbers as part of scheduled campaigns. This is sufficient to survive summary
11    judgment.”).
12           32.     Furthermore, the form and the content of the messages, as well as the
13    surrounding circumstances demonstrate that Defendant utilized an ATDS to transmit
14    the messages referenced above.
15           33.     First, the impersonal and generic nature of the message demonstrates that
16    Defendant utilized an ATDS in transmitting the messages. More specifically, the
17    messages are impersonal and are scripted such that they are not addressed specifically
18    to Plaintiff, i.e., they do not begin with a salutation referencing Plaintiff’s first or last
19    name (i.e., “Dear Mr. Matthews”). Rather, they exclusively refer to the recipient of the
20    message as “You”. Here, none of the messages contain Plaintiff’s first or last name,
21    they also don’t contain any other identifying information unique to only Plaintiff, such
22    as an address, last four digits of a credit card number, or reference number. Crafted in
23    this generic manner, the text message advertisements are optimized for mass delivery
24    to thousands of individuals, making it at least plausible that they were sent via an
25    ATDS. See Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D. Cal. 2010) (finding
26    it “plausible” that defendants used an ATDS where messages were advertisements
27    written in an impersonal manner); see also Fishman v. Subway Franchise Advertising Fund
28                                          8
                             AMENDED CLASS ACTION COMPLAINT
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 1    Trust, Ltd., 2019 U.S. Dist. LEXIS 200710, 2019 WL 6135030, *8 (C.D. Cal.
 2    2019) (finding ATDS allegations sufficient where plaintiff alleged “that T-Mobile used
 3    short message script messaging technology to transmit thousands of unsolicited
 4    messages”).
 5          34.     Second, the use of an ATDS is highly likely given that all of the message
 6    ask Plaintiff to reply with a one or two-word response to interact with message, or ask
 7    him to visit a hyperlink embedded in the message to obtain further information about
 8    promotions. Here, the messages contain generic opt-out instructions, ending the
 9    message by stating: “Reply ‘STOP 5057’ to Opt-out,” and several of them ask Plaintiff
10    to click on a hyperlink embedded in the message to review various promotions, see
11    supra at ¶ 24( “VIEW FLYER HERE: https://ibb.co/BK8Hkg”). By asking Plaintiff
12    to respond with a one or two-word, generic response to interact with the message, and
13    by requesting that Plaintiff visit various website hyperlinks embedded within the body
14    of the text message, the messages contains classic indicators that demonstrate that an
15    ATDS was used. See Meyer v. Bebe Stores, Inc., 2015 U.S. Dist. LEXIS 12060, 2015 WL
16    431148, *4 (N.D. Cal. 2015)(finding that TCPA claim was sufficiently stated where
17    complaint alleged that the recipient was asked to type a one-word response to interact
18    with the text message.).
19          35.     Third, Defendant’s messages “contained pro forma instructional
20    commands” for opting out of further messages, which is yet another classic indicator
21    of an ATDS. Specifically, Defendant’s messages contained automated opt-out
22    instructions, telling Plaintiff to “Reply ‘STOP 5057’ to Opt-out.” The presence of this
23    pro forma instructional command further strengthens the inference that an ATDS was
24    used by Defendant to transmit these messages See Abe v. Hyundai Motor America, Inc.,
25    2019 WL 6647938, at *5 (C.D. Cal. 2019) (denying motion to dismiss because the
26    complaint alleges the text messages “contained pro forma instructional commands for
27    confirming or opting-out of further messages, thus indicating the use of an autodialer,”
28                                         9
                            AMENDED CLASS ACTION COMPLAINT
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 1     and explaining that “inclusion of automated instructions [is] clear indicia of
 2     Defendant’s use of an ‘automated telephone dialing system’”).
 3            36.    Fourth, when considering the generic content of the messages
 4     collectively, they reflect the use of “form templates” designed for mass automated text
 5     campaigns. This is yet another factor that is highly “indicative of an ATDS” being
 6     used. See Duguid v. Facebook, Inc., 926 F.3d 1146, 1151 (9th Cir. 2019) (content reflecting
 7     use of automated templates supports inference of ATDS); Abe v. Hyundai Motor
 8     America, Inc., 2019 WL 6647938, at *5 (explaining that through the use of template
 9     content, an ATDS “may automate ‘even the aspects of the messages that appear
10     personalized”).
11            37.    The text messages originated from telephone number 844-694-0474, a
12     number which upon information and belief is owned and operated by Defendant.
13            38.    The number used by Defendant (844-694-0474) is known as a “long
14     code,” a standard 10-digit code that enables Defendant to send SMS text messages en
15     masse, while deceiving recipients into believing that the message was personalized and
16     sent from a telephone number operated by an individual.
17            39.    Long codes work as follows: Private companies known as SMS gateway
18     providers have contractual arrangements with mobile carriers to transmit two-way SMS
19     traffic. These SMS gateway providers send and receive SMS traffic to and from the
20     mobile phone networks' SMS centers, which are responsible for relaying those messages
21     to the intended mobile phone. This allows for the transmission of a large number of
22     SMS messages to and from a long code.
23            40.    Specifically, upon information and belief, Defendant utilized a
24     combination of hardware and software systems to send the text messages at issue in
25     this case. The systems utilized by Defendant have the capacity to store telephone
26     numbers using a random or sequential number generator, and to dial such numbers
27     from a list without human intervention.
28                                           10
                              AMENDED CLASS ACTION COMPLAINT
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 1           41.    To send the text messages, Defendant used a messaging platform (the
 2     “Platform”) that permitted Defendant to transmit thousands of automated text
 3     messages without any human involvement.
 4           42.    The Platform has the capacity to store telephone numbers, which capacity
 5     was in fact utilized by Defendant.
 6           43.    The Platform has the capacity to generate sequential numbers, which
 7     capacity was in fact utilized by Defendant.
 8           44.    The Platform has the capacity to dial numbers in sequential order, which
 9     capacity was in fact utilized by Defendant.
10           45.    The Platform has the capacity to dial numbers from a list of numbers,
11     which capacity was in fact utilized by Defendant.
12           46.    The Platform has the capacity to dial numbers without human
13     intervention, which capacity was in fact utilized by Defendant.
14           47.    The Platform has the capacity to schedule the time and date for future
15     transmission of text messages, which occurs without any human involvement.
16           48.    To transmit the messages at issue, the Platform automatically executed the
17     following steps:
18                   a) The Platform retrieved each telephone number from a list of numbers
19                        in the sequential order the numbers were listed;
20                   b) The Platform then generated each number in the sequential order
21                        listed and combined each number with the content of Defendant’s
22                        message to create “packets” consisting of one telephone number and
23                        the message content;
24                   c) Each packet was then transmitted in the sequential order listed to an
25                        SMS aggregator, which acts an intermediary between the Platform,
26                        mobile carriers (e.g. AT&T), and consumers.
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28                                           11
                              AMENDED CLASS ACTION COMPLAINT
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 1                    d) Upon receipt of each packet, the SMS aggregator transmitted each
 2                       packet – automatically and with no human intervention – to the
 3                       respective mobile carrier for the telephone number, again in the
 4                       sequential order listed by Defendant. Each mobile carrier then sent
 5                       the message to its customer’s mobile telephone.
 6             49.   The above execution these instructions occurred seamlessly, with no
 7     human intervention, and almost instantaneously. Indeed, the Platform is capable of
 8     transmitting thousands of text messages following the above steps in minutes, if not
 9     less.
10             50.   Further, the Platform “throttles” the transmission of the text messages
11     depending on feedback it receives from the mobile carrier networks. In other words,
12     the platform controls how quickly messages are transmitted depending on network
13     congestion. The platform performs this throttling function automatically and does not
14     allow a human to control the function.
15             51.   The following graphic summarizes the above steps and demonstrates that
16     the dialing of the text messages at issue was done by the Platform automatically and
17     without any human intervention:
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23             52.   Defendant’s unsolicited text messages caused Plaintiff actual harm,
24     including invasion of his privacy, aggravation, annoyance, intrusion on seclusion,
25     trespass, and conversion. Defendant’s text messages also inconvenienced Plaintiff and
26     caused disruption to his daily life.
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28                                           12
                              AMENDED CLASS ACTION COMPLAINT
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 1            53.       Defendant’s unsolicited text messages caused Plaintiff actual harm.
 2     Specifically, Plaintiff estimates that he has wasted fifteen to thirty seconds reviewing
 3     each of Defendant’s unwanted messages. Each time, Plaintiff had to stop what he was
 4     doing to either retrieve his phone and/or look down at the phone to review the
 5     message.
 6            54.       Next, Plaintiff wasted approximately fifteen minutes locating and
 7     retaining counsel for this case in order to stop Defendant’s unwanted calls.
 8            55.       In all, Defendant’s violations of the TCPA caused Plaintiff to waste at
 9     least fifteen minutes of his time in addressing and attempting to stop Defendant’s
10     solicitations.
11                                       CLASS ALLEGATIONS
12            PROPOSED CLASS
13            56.       Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23,
14     on behalf of himself and all others similarly situated.
15            57.       Plaintiff brings this case on behalf of the Class defined as follows:
16                      No Consent Class: All persons in the United States
                        who, within four years prior to the filing of this
17                      action, (1) were sent a text message by or on behalf
                        of Defendant, (2) using an automatic telephone
18                      dialing system, (3) for the purpose of soliciting
                        Defendant’s goods and services, (4) without prior
19                      express consent of the recipient, or with the same
                        manner of purported consent Defendant claims to
20                      have obtained from Plaintiff, if any.
21            58.       Defendant and its employees or agents are excluded from the Class.
22     Plaintiff does not know the number of members in the Class but believes the Class
23     members number in the several thousands, if not more.
24            NUMEROSITY
25            59.       Upon information and belief, Defendant has placed automated calls to
26     cellular telephone numbers belonging to thousands of consumers throughout the
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 1     United States without their prior express consent. The members of the Class, therefore,
 2     are believed to be so numerous that joinder of all members is impracticable.
 3            60.   The exact number and identities of the members of the Class are unknown
 4     at this time and can only be ascertained through discovery. Identification of the Class
 5     members is a matter capable of ministerial determination from Defendant’s call records.
 6            COMMON QUESTIONS OF LAW AND FACT
 7            61.   There are numerous questions of law and fact common to members of
 8     the Class which predominate over any questions affecting only individual members of
 9     the Class. Among the questions of law and fact common to the members of the Class
10     are:
11                  a) Whether Defendant made non-emergency calls to Plaintiff’s and Class
12                      members’ cellular telephones using an ATDS;
13                  b) Whether Defendant can meet its burden of showing that it obtained
14                      prior express written consent to make such calls;
15                  c) Whether Defendant’s conduct was knowing and willful;
16                  d) Whether Defendant is liable for damages, and the amount of such
17                      damages; and
18                  e) Whether Defendant should be enjoined from such conduct in the
19                      future.
20            62.   The common questions in this case are capable of having common
21     answers. If Plaintiff’s claim that Defendant routinely transmits text messages to
22     telephone numbers assigned to cellular telephone services is accurate, Plaintiff and the
23     Class members will have identical claims capable of being efficiently adjudicated and
24     administered in this case.
25            TYPICALITY
26            63.   Plaintiff’s claims are typical of the claims of the Class members, as they
27     are all based on the same factual and legal theories.
28                                          14
                             AMENDED CLASS ACTION COMPLAINT
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 1              PROTECTING THE INTERESTS OF THE CLASS MEMBERS
 2              64.    Plaintiff is a representative who will fully and adequately assert and protect
 3     the interests of the Class and has retained competent counsel. Accordingly, Plaintiff is
 4     an adequate representative and will fairly and adequately protect the interests of the
 5     Class.
 6              PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE
 7              65.    A class action is superior to all other available methods for the fair and
 8     efficient adjudication of this lawsuit, because individual litigation of the claims of all
 9     members of the Class is economically unfeasible and procedurally impracticable. While
10     the aggregate damages sustained by the Class are in the millions of dollars, the individual
11     damages incurred by each member of the Class resulting from Defendant’s wrongful
12     conduct are too small to warrant the expense of individual lawsuits. The likelihood of
13     individual Class members prosecuting their own separate claims is remote, and, even if
14     every member of the Class could afford individual litigation, the court system would be
15     unduly burdened by individual litigation of such cases.
16              66.    The prosecution of separate actions by members of the Class would create
17     a risk of establishing inconsistent rulings and/or incompatible standards of conduct for
18     Defendant. For example, one court might enjoin Defendant from performing the
19     challenged acts, whereas another may not. Additionally, individual actions may be
20     dispositive of the interests of the Class, although certain class members are not parties
21     to such actions.
22                                             COUNT I
                              Violations of the TCPA, 47 U.S.C. § 227(b)
23                              (On Behalf of Plaintiff and the Class)
24              67.    Plaintiff re-alleges and incorporates the foregoing allegations as if fully set
25     forth herein.
26              68.    It is a violation of the TCPA to make “any call (other than a call made for
27     emergency purposes or made with the prior express consent of the called party) using
28                                             15
                                AMENDED CLASS ACTION COMPLAINT
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 1     any automatic telephone dialing system … to any telephone number assigned to a …
 2     cellular telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
 3           69.       Defendant – or third parties directed by Defendant – used equipment
 4     having the capacity to dial numbers without human intervention to make non-
 5     emergency telephone calls to the cellular telephones of Plaintiff and the other members
 6     of the Class defined below.
 7           70.       These calls were made without regard to whether or not Defendant had
 8     first obtained express permission from the called party to make such calls. In fact,
 9     Defendant did not have prior express consent to call the cell phones of Plaintiff and
10     the other members of the putative Class when its calls were made.
11           71.       Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by
12     using an automatic telephone dialing system to make non-emergency telephone calls to
13     the cell phones of Plaintiff and the other members of the putative Class without their
14     prior express written consent.
15           72.       Defendant knew that it did not have prior express consent to make these
16     calls, and it knew or should have known that it was using equipment that constituted
17     an automatic telephone dialing system. The violations were therefore willful or
18     knowing.
19           73.       As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the
20     TCPA, Plaintiff and the other members of the putative Class were harmed and are each
21     entitled to a minimum of $500.00 in damages for each violation. Plaintiff and the
22     members of the Class are also entitled to an injunction against future calls. Id.
23                                     COUNT II
              Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
24                        (On Behalf of Plaintiff and the Class)
25           74.       Plaintiff re-alleges and incorporates the foregoing allegations as if fully set
26     forth herein.
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 1            75.      At all times relevant, Defendant knew or should have known that its
 2     conduct as alleged herein violated the TCPA.
 3            76.      Defendant knew that it did not have prior express consent to make these
 4     calls, and it knew or should have known that its conduct was a violation of the TCPA.
 5            77.      Because Defendant knew or should have known that Plaintiff and Class
 6     Members had not given prior express consent to receive its autodialed calls, the Court
 7     should treble the amount of statutory damages available to Plaintiff and the other
 8     members of the putative Class pursuant to § 227(b)(3) of the TCPA.
 9            78.      As a result of Defendant’s violations, Plaintiff and the Class Members are
10     entitled to an award of $1,500.00 in statutory damages, for each and every violation,
11     pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
12                                      PRAYER FOR RELIEF
13            WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
14     following relief:
15                  a) An order certifying this case as a class action on behalf of the Class as
16                     defined above, and appointing Plaintiff as the representative of the Class
17                     and Plaintiff’s counsel as Class Counsel;
18                  b) An award of actual and statutory damages for Plaintiff and each member
19                     of the Class;
20                  c) As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq.,
21                     Plaintiff seeks for himself and each member of the Class $500.00 in
22                     statutory damages for each and every violation pursuant to 47 U.S.C. §
23                     277(b)(3)(B);
24                  d) As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
25                     §§ 227, et seq., Plaintiff seeks for himself and each member of the Class
26                     treble damages, as provided by statute, up to $1,500.00 for each and every
27                     violation pursuant to 47 U.S.C. § 277(b)(3)(B) and § 277(b)(3)(C);
28                                             17
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 1             e) An order declaring that Defendant’s actions, as set out above, violate the
 2                TCPA;
 3             f) A declaratory judgment that Defendant’s telephone calling equipment
 4                constitutes an automatic telephone dialing system under the TCPA;
 5             g) An injunction requiring Defendant to cease all unsolicited text messaging
 6                activity, and to otherwise protect the interests of the Class;
 7             h) An injunction prohibiting Defendant from using, or contracting the use
 8                of, an automatic telephone dialing system without obtaining, recipient’s
 9                consent to receive calls made with such equipment;
10             i) An award of reasonable attorneys’ fees and costs pursuant to, inter alia,
11                California Code of Civil Procedure § 1021.5; and
12             j) Such further and other relief as the Court deems necessary.
13                                     JURY DEMAND
14           Plaintiff hereby demand a trial by jury.
15

16     Dated: November 23, 2020
17                                            Respectfully submitted,
18
                                              /s/ Scott Edelsberg
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22

23                                            Counsel for Plaintiff and the Proposed Class
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